     Case 2:18-ap-01381-WB     Doc 34 Filed 08/07/19 Entered 08/07/19 09:40:38                  Desc
                                Main Document    Page 1 of 2


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4                                                                           AUG 07 2019
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                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6                                                                      BY penning DEPUTY CLERK


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                           UNITED STATES BANKRUPTCY COURT
9
                CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
10
11   In re:                                         CHAPTER 13

12   MARIO G. CARDONA,                              Case No.: 2:17-bk-22804-WB
                                                    Adv No: 2:18-ap-01381-WB
13
                                               ORDER CONTINUING STATUS
14
                                    Debtor(s). CONFERENCE
15
16                                                  Date:        September 3, 2019
     DANIEL GARZA,                                  Time:        2:00 PM
17                                                  Courtroom:   1375
18                                 Plaintiff(s),
          v.                                        New Hearing Date
                                                    Date:        September 10, 2019
19                                                  Time:        2:00 PM
                                                    Courtroom: 1375
20   MARIO G. CARDONA,
21
22                               Defendant(s).

23             TO ALL INTERESTED PARTIES:
24
     //
25
26   //
27
     //
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     Case 2:18-ap-01381-WB          Doc 34 Filed 08/07/19 Entered 08/07/19 09:40:38         Desc
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1           IT IS HEREBY ORDERED that the status conference in the above-referenced adversary
2    proceeding is continued to September 10, 2019 at 2:00 p.m. The hearing set for September 3,
3    2019 at 2:00 p.m. is off calendar.
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25        Date: August 7, 2019

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